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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                               Criminal No. 13-20156
                     Plaintiff,                Honorable George Caram Steeh
v.

D-18 JAMIE YOSHIO KONO,

               Defendant.
_________________________________/


             AMENDED PRELIMINARY ORDER OF FORFEITURE

         A Stipulated Preliminary Order of Forfeiture was entered on November 24,

2014, providing for the forfeiture of, among other things, a money judgment

against Defendant Jamie Yoshio Kono in the amount of $396,900.00.

         Pursuant to a State of California search warrant executed during the

underlying criminal investigation, on or about March 12, 2013, $396,900.00 in

U.S. Currency (Subject Currency) was seized from defendant as proceeds of

unlawful drug trafficking, or property used to facilitate drug trafficking. The

Subject Currency was not identified until after the Stipulated Preliminary Order

of Forfeiture was entered, and was therefore beyond the jurisdiction of the

Court.




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      On October 9, 2015 the Government filed a motion to amend the

stipulated preliminary order of forfeiture to include the Subject Property as

substitute property to satisfy the unpaid forfeiture money judgment, as provided

by Rule 32.2(e) of the Federal Rules of Criminal Procedure. The Court granted

the Government’s motion and entered an Amended Preliminary Order of

Forfeiture on October 20, 2015.

      Through inadvertence on the Government’s part, the Amended

Preliminary Order of Forfeiture includes a clerical error, whereby the amount of

currency stated to have been seized from the defendant in paragraph 9 of the

Order, and the amount of currency stated to be subject to forfeiture as substitute

property on page 4 of the Order, incorrectly state an amount of $396,000.00,

rather than the correct amount of $396,900.00.

      The Court being advised in all the premises, and pursuant to Federal Rule of

Criminal Procedure 36, IT IS HEREBY ORDERED THAT

      1.     The Amended Preliminary Order of Forfeiture, the terms of which are

incorporated herein by reference, shall be amended at paragraph 9 to state that the

amount of U.S. Currency seized from Defendant JAMIE YOSHIO KONO is

$396,900.00.




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       2.     The Amended Preliminary Order of Forfeiture shall be further

amended to state on page 4 that the amount of the Subject Currency to be forfeited

is $396,900.00.

       Upon entry of this Order these corrections shall be incorporated by reference

into the October 20, 2015 Amended Preliminary Order of Forfeiture, and the

October 20, 2015 Amended Preliminary Order of Forfeiture shall remain the same

in all other respects.

       IT IS SO ORDERED.




Dated: November 2, 2016                s/George Caram Steeh
                                       HONORABLE GEORGE CARAM STEEH
                                       United States District Judge




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